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                                        #:325280




                                                                                      Arrival date:      05-14-08
MGA Entertainment                                                                     Departure date:    08-29-08
16300 Roscoe Boulevard                                                                No. in party:     0/0
Van Nuys, CA 91406                                                                    Room No.:          9001
                                                                                      Account No.:
                                                                                       BookingNo.:
                                                                                      Page No.:             1 of 17

                                                                                       Invoice .:
INFORMATION INVOICE                                                                                           08-08-08
Date        Description                  Reference                                          Charges           Credits

08-01-08       Banquet Invoice            40204                                               906.40
08-01-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room #349            10.00
08-01-08       Room-Group                  Routed From MGA Storage Room Of Room                99.00
                                          #132
08-01-08       Occupancy Tax               Routed From MGA Storage Room Of Room                10.89
                                          #132
08-01-08       Room-Group                  Routed From Turnipseed Alissa Of Room               99.00
                                          #230
08-01-08       Occupancy Tax               Routed From Turnipseed Alissa Of Room               10.89
                                          #230
08-01-08       Room-Group                  Routed From Feirman Jordan Of Room #233             99.00
08-01-08       Occupancy Tax               Routed From Feirman Jordan Of Room #233             10.89
08-01-08       Room-Group                  Routed From Aguiar Lauren Of Room #286             189.00
08-01-08       Occupancy Tax               Routed From Aguiar Lauren Of Room #286              20.79
08-01-08       Room-Group                  Routed From Shorr Aaron Of Room #303                99.00
08-01-08       Occupancy Tax               Routed From Shorr Aaron Of Room #303                10.89
08-01-08       Room-Group                  Routed From Lybrand Steve Of Room #314              99.00
08-01-08       Occupancy Tax               Routed From Lybrand Steve Of Room #314              10.89
08-01-08       Room-Group                  Routed From Rogosa Diana Of Room #316               99.00
08-01-08       Occupancy Tax               Routed From Rogosa Diana Of Room #316               10.89
08-01-08       Room-Group                  Rinker Greg #317=>MGA Entertainment                 99.00
                                          #9001
08-01-08       Occupancy Tax               Rinker Greg #317=>MGA Entertainment                 10.89
                                          #9001
08-01-08       Room-Group                  Routed From Herrington Rob Of Room #328             99.00
08-01-08       Occupancy Tax               Routed From Herrington Rob Of Room #328             10.89
08-01-08       Room-Group                  Routed From Harden Susan Of Room #345               99.00
08-01-08       Occupancy Tax               Routed From Harden Susan Of Room #345               10.89
08-01-08       Room-Group                  Routed From Uslaner Jonathan Of Room                99.00
                                          #349
08-01-08       Occupancy Tax               Routed From Uslaner Jonathan Of Room                10.89
                                          #349
08-01-08       Room-Group                  Routed From Hansen David Of Room #377               99.00



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                                                                               Arrival date:      05-14-08
MGA Entertainment                                                              Departure date:    08-29-08
16300 Roscoe Boulevard                                                         No. in party:     0/0
Van Nuys, CA 91406                                                             Room No.:          9001
                                                                               Account No.:
                                                                                BookingNo.:
                                                                               Page No.:             2 of 17

                                                                                Invoice .:
INFORMATION INVOICE                                                                                    08-08-08
Date        Description           Reference                                          Charges           Credits

08-01-08       Occupancy Tax         Routed From Hansen David Of Room #377              10.89
08-01-08       Room-Group            Routed From Nolan Tom Of Room #435                500.00
08-01-08       Occupancy Tax         Routed From Nolan Tom Of Room #435                 55.00
08-02-08       Banquet Invoice      40205                                              842.82
08-02-08       Room-Group            Routed From MGA Storage Room Of Room               99.00
                                    #132
08-02-08       Occupancy Tax         Routed From MGA Storage Room Of Room               10.89
                                    #132
08-02-08       Room-Group            Routed From Turnipseed Alissa Of Room              99.00
                                    #230
08-02-08       Occupancy Tax         Routed From Turnipseed Alissa Of Room              10.89
                                    #230
08-02-08       Room-Group            Routed From Feirman Jordan Of Room #233            99.00
08-02-08       Occupancy Tax         Routed From Feirman Jordan Of Room #233            10.89
08-02-08       Room-Group            Routed From Aguiar Lauren Of Room #286            189.00
08-02-08       Occupancy Tax         Routed From Aguiar Lauren Of Room #286             20.79
08-02-08       Room-Group            Routed From Shorr Aaron Of Room #303               99.00
08-02-08       Occupancy Tax         Routed From Shorr Aaron Of Room #303               10.89
08-02-08       Room-Group            Routed From Lybrand Steve Of Room #314             99.00
08-02-08       Occupancy Tax         Routed From Lybrand Steve Of Room #314             10.89
08-02-08       Room-Group            Routed From Rogosa Diana Of Room #316              99.00
08-02-08       Occupancy Tax         Routed From Rogosa Diana Of Room #316              10.89
08-02-08       Room-Group            Routed From Rinker Greg Of Room #317               99.00
08-02-08       Occupancy Tax         Routed From Rinker Greg Of Room #317               10.89
08-02-08       Room-Group            Routed From Herrington Rob Of Room #328            99.00
08-02-08       Occupancy Tax         Routed From Herrington Rob Of Room #328            10.89
08-02-08       Room-Group            Routed From Harden Susan Of Room #345              99.00
08-02-08       Occupancy Tax         Routed From Harden Susan Of Room #345              10.89
08-02-08       Room-Group            Routed From Uslaner Jonathan Of Room               99.00
                                    #349
08-02-08       Occupancy Tax         Routed From Uslaner Jonathan Of Room               10.89
                                    #349
08-02-08       Room-Group            Routed From Hansen David Of Room #377              99.00



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                                                                                      Arrival date:      05-14-08
MGA Entertainment                                                                     Departure date:    08-29-08
16300 Roscoe Boulevard                                                                No. in party:     0/0
Van Nuys, CA 91406                                                                    Room No.:          9001
                                                                                      Account No.:
                                                                                       BookingNo.:
                                                                                      Page No.:             3 of 17

                                                                                       Invoice .:
INFORMATION INVOICE                                                                                           08-08-08
Date        Description                  Reference                                          Charges           Credits

08-02-08       Occupancy Tax               Routed From Hansen David Of Room #377               10.89
08-02-08       Room-Group                  Routed From Nolan Tom Of Room #433                 159.00
08-02-08       Occupancy Tax               Routed From Nolan Tom Of Room #433                  17.49
08-03-08       Comm-Long Distance         09:12 00:02:00 lost Interface #9500=>MGA              1.21
                                          Entertainment #9001
08-03-08       Comm-Long Distance         09:12 00:01:00 lost Interface #9500=>MGA              0.98
                                          Entertainment #9001
08-03-08       Comm-Long Distance         09:12 00:01:00 lost Interface #9500=>MGA              0.98
                                          Entertainment #9001
08-03-08       Comm-Long Distance         09:12 00:05:00 lost Interface #9500=>MGA              1.90
                                          Entertainment #9001
08-03-08       Comm-Long Distance         09:12 00:06:00 lost Interface #9500=>MGA              2.13
                                          Entertainment #9001
08-03-08       Room Service               Line# 225 : CHECK# 0042933 Holden Craig              37.80
                                          #225=>MGA Entertainment #9001
08-03-08       Banquet Invoice            DINNER40284                                         683.73
08-03-08       Parking-Valet Overnight    Routed From Shorr Aaron Of Room #303                 15.00
08-03-08       Parking-Valet Overnight    Routed From Harden Susan Of Room #345                15.00
08-03-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room #349            15.00
08-03-08       Parking-Valet Overnight    Routed From Lopez Alex Of Room #176                  15.00
08-03-08       Parking-Valet Overnight    Routed From Roth Carl Of Room #202                   15.00
08-03-08       Parking-Valet Overnight    Routed From Russell Jason Of Room #220               15.00
08-03-08       Parking-Valet Overnight    Routed From Weinsten Ryan Of Room #260               15.00
08-03-08       Parking-Valet Overnight    Routed From Sloan Matt Of Room #343                  15.00
08-03-08       Parking-Valet Overnight    Routed From Holden Craig Of Room #225                15.00
08-03-08       Parking-Valet Overnight    Routed From Falk Jerome Of Room #119                 15.00
08-03-08       Room-Group                  Routed From Falk Jerome Of Room #119                99.00
08-03-08       Occupancy Tax               Routed From Falk Jerome Of Room #119                10.89
08-03-08       Room-Group                  Routed From Hammon Patrick Of Room #128             99.00
08-03-08       Occupancy Tax               Routed From Hammon Patrick Of Room #128             10.89
08-03-08       Room-Group                  Routed From MGA Storage Room Of Room                99.00
                                          #132
08-03-08       Occupancy Tax               Routed From MGA Storage Room Of Room                10.89



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                                                                               Arrival date:      05-14-08
MGA Entertainment                                                              Departure date:    08-29-08
16300 Roscoe Boulevard                                                         No. in party:     0/0
Van Nuys, CA 91406                                                             Room No.:          9001
                                                                               Account No.:
                                                                                BookingNo.:
                                                                               Page No.:             4 of 17

                                                                                Invoice .:
INFORMATION INVOICE                                                                                    08-08-08
Date        Description           Reference                                          Charges           Credits

                                    #132
08-03-08       Room-Group            Routed From Kennedy Raoul Of Room #158            189.00
08-03-08       Occupancy Tax         Routed From Kennedy Raoul Of Room #158             20.79
08-03-08       Room-Group            Routed From Lopez Alex Of Room #176                99.00
08-03-08       Occupancy Tax         Routed From Lopez Alex Of Room #176                10.89
08-03-08       Room-Group            Routed From Roth Carl Of Room #202                189.00
08-03-08       Occupancy Tax         Routed From Roth Carl Of Room #202                 20.79
08-03-08       Room-Group            Routed From Russell Jason Of Room #220             99.00
08-03-08       Occupancy Tax         Routed From Russell Jason Of Room #220             10.89
08-03-08       Room-Group            Routed From Holden Craig Of Room #225              99.00
08-03-08       Occupancy Tax         Routed From Holden Craig Of Room #225              10.89
08-03-08       Room-Group            Routed From Turnipseed Alissa Of Room              99.00
                                    #230
08-03-08       Occupancy Tax         Routed From Turnipseed Alissa Of Room              10.89
                                    #230
08-03-08       Room-Group            Routed From Feirman Jordan Of Room #233            99.00
08-03-08       Occupancy Tax         Routed From Feirman Jordan Of Room #233            10.89
08-03-08       Room-Group            Routed From Weinsten Ryan Of Room #260             99.00
08-03-08       Occupancy Tax         Routed From Weinsten Ryan Of Room #260             10.89
08-03-08       Room-Group            Routed From Aguiar Lauren Of Room #286            189.00
08-03-08       Occupancy Tax         Routed From Aguiar Lauren Of Room #286             20.79
08-03-08       Room-Group            Routed From Shorr Aaron Of Room #303               99.00
08-03-08       Occupancy Tax         Routed From Shorr Aaron Of Room #303               10.89
08-03-08       Room-Group            Routed From Lybrand Steve Of Room #314             99.00
08-03-08       Occupancy Tax         Routed From Lybrand Steve Of Room #314             10.89
08-03-08       Room-Group            Routed From Rogosa Diana Of Room #316              99.00
08-03-08       Occupancy Tax         Routed From Rogosa Diana Of Room #316              10.89
08-03-08       Room-Group            Routed From Rinker Greg Of Room #317               99.00
08-03-08       Occupancy Tax         Routed From Rinker Greg Of Room #317               10.89
08-03-08       Room-Group            Routed From Herrington Rob Of Room #328            99.00
08-03-08       Occupancy Tax         Routed From Herrington Rob Of Room #328            10.89
08-03-08       Room-Group            Routed From Sloan Matt Of Room #343                99.00




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                                                                                Arrival date:      05-14-08
MGA Entertainment                                                               Departure date:    08-29-08
16300 Roscoe Boulevard                                                          No. in party:     0/0
Van Nuys, CA 91406                                                              Room No.:          9001
                                                                                Account No.:
                                                                                 BookingNo.:
                                                                                Page No.:             5 of 17

                                                                                 Invoice .:
INFORMATION INVOICE                                                                                     08-08-08
Date        Description             Reference                                         Charges           Credits

08-03-08       Occupancy Tax          Routed From Sloan Matt Of Room #343                10.89
08-03-08       Room-Group             Routed From Harden Susan Of Room #345              99.00
08-03-08       Occupancy Tax          Routed From Harden Susan Of Room #345              10.89
08-03-08       Room-Group             Routed From Uslaner Jonathan Of Room               99.00
                                     #349
08-03-08       Occupancy Tax          Routed From Uslaner Jonathan Of Room               10.89
                                     #349
08-03-08       Room-Group             Routed From Hansen David Of Room #377              99.00
08-03-08       Occupancy Tax          Routed From Hansen David Of Room #377              10.89
08-03-08       Room-Group             Routed From Nolan Tom Of Room #435                500.00
08-03-08       Occupancy Tax          Routed From Nolan Tom Of Room #435                 55.00
08-04-08       Room Service          Line# 225 : CHECK# 0042953 Holden Craig             24.78
                                     #225=>MGA Entertainment #9001
08-04-08       Comm-Long Distance    14:43 00:01:00 lost Interface #9500=>MGA             0.98
                                     Entertainment #9001
08-04-08       Comm-Long Distance    14:43 00:01:00 lost Interface #9500=>MGA             0.98
                                     Entertainment #9001
08-04-08       Comm-Long Distance    14:43 00:01:00 lost Interface #9500=>MGA             0.98
                                     Entertainment #9001
08-04-08       Comm-Long Distance    14:43 00:02:00 lost Interface #9500=>MGA             1.21
                                     Entertainment #9001
08-04-08       Comm-Long Distance    14:43 00:01:00 lost Interface #9500=>MGA             0.98
                                     Entertainment #9001
08-04-08       Comm-Long Distance    14:43 00:01:00 lost Interface #9500=>MGA             0.98
                                     Entertainment #9001
08-04-08       Comm-Long Distance    14:43 00:01:00 lost Interface #9500=>MGA             0.98
                                     Entertainment #9001
08-04-08       Comm-Long Distance    14:43 00:01:00 lost Interface #9500=>MGA             0.98
                                     Entertainment #9001
08-04-08       Comm-Long Distance    14:43 00:01:00 lost Interface #9500=>MGA             0.98
                                     Entertainment #9001
08-04-08       Comm-Long Distance    14:43 00:01:00 lost Interface #9500=>MGA             0.98
                                     Entertainment #9001




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                                                                                      Arrival date:      05-14-08
MGA Entertainment                                                                     Departure date:    08-29-08
16300 Roscoe Boulevard                                                                No. in party:     0/0
Van Nuys, CA 91406                                                                    Room No.:          9001
                                                                                      Account No.:
                                                                                       BookingNo.:
                                                                                      Page No.:             6 of 17

                                                                                       Invoice .:
INFORMATION INVOICE                                                                                           08-08-08
Date        Description                  Reference                                          Charges           Credits

08-04-08       Comm-Long Distance         14:43 00:02:00 lost Interface #9500=>MGA              1.21
                                          Entertainment #9001
08-04-08       Comm-Long Distance         14:43 00:03:00 lost Interface #9500=>MGA              1.44
                                          Entertainment #9001
08-04-08       Comm-Long Distance         14:43 00:01:00 lost Interface #9500=>MGA              0.98
                                          Entertainment #9001
08-04-08       Comm-Long Distance         14:43 00:01:00 lost Interface #9500=>MGA              0.98
                                          Entertainment #9001
08-04-08       Comm-Long Distance         09:46 00:02:00 lost Interface #9500=>MGA              1.21
                                          Entertainment #9001
08-04-08       Banquet Invoice            40207                                             1,166.07
08-04-08       Comm-Long Distance         09:46 00:02:00 lost Interface #9500=>MGA              1.21
                                          Entertainment #9001
08-04-08       Comm-Long Distance         09:46 00:02:00 lost Interface #9500=>MGA              1.21
                                          Entertainment #9001
08-04-08       Banquet Invoice            40285                                               678.95
08-04-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room #349            15.00
08-04-08       Parking-Valet Overnight    Routed From Gronich Daphne Of Room #210              15.00
08-04-08       Parking-Valet Overnight    Routed From Lopez Alex Of Room #176                  15.00
08-04-08       Parking-Valet Overnight    Routed From Roth Carl Of Room #202                   15.00
08-04-08       Parking-Valet Overnight    Routed From Weinsten Ryan Of Room #260               15.00
08-04-08       Parking-Valet Overnight    Routed From Sloan Matt Of Room #343                  15.00
08-04-08       Parking-Valet Overnight    Routed From Nolan Tom Of Room #435                   15.00
08-04-08       Parking-Valet Overnight    Routed From Shorr Aaron Of Room #303                 15.00
08-04-08       Parking-Valet Overnight    Routed From Harden Susan Of Room #345                15.00
08-04-08       Parking-Valet Overnight    Routed From Isomoto Becky Of Room #355               15.00
08-04-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room #349            15.00
08-04-08       Room-Group                  Routed From Hammon Patrick Of Room #128             99.00
08-04-08       Occupancy Tax               Routed From Hammon Patrick Of Room #128             10.89
08-04-08       Room-Group                  Routed From Kennedy Raoul Of Room #158             189.00
08-04-08       Occupancy Tax               Routed From Kennedy Raoul Of Room #158              20.79
08-04-08       Room-Group                  Routed From Lopez Alex Of Room #176                 99.00
08-04-08       Occupancy Tax               Routed From Lopez Alex Of Room #176                 10.89



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                                                                               Arrival date:      05-14-08
MGA Entertainment                                                              Departure date:    08-29-08
16300 Roscoe Boulevard                                                         No. in party:     0/0
Van Nuys, CA 91406                                                             Room No.:          9001
                                                                               Account No.:
                                                                                BookingNo.:
                                                                               Page No.:             7 of 17

                                                                                Invoice .:
INFORMATION INVOICE                                                                                    08-08-08
Date        Description           Reference                                          Charges           Credits

08-04-08       Room-Group            Routed From Roth Carl Of Room #202                189.00
08-04-08       Occupancy Tax         Routed From Roth Carl Of Room #202                 20.79
08-04-08       Room-Group            Routed From Gronich Daphne Of Room #210            99.00
08-04-08       Occupancy Tax         Routed From Gronich Daphne Of Room #210            10.89
08-04-08       Room-Group            Routed From Holden Craig Of Room #225             129.00
08-04-08       Occupancy Tax         Routed From Holden Craig Of Room #225              14.19
08-04-08       Room-Group            Routed From Turnipseed Alissa Of Room              99.00
                                    #230
08-04-08       Occupancy Tax         Routed From Turnipseed Alissa Of Room              10.89
                                    #230
08-04-08       Room-Group            Routed From Feirman Jordan Of Room #233            99.00
08-04-08       Occupancy Tax         Routed From Feirman Jordan Of Room #233            10.89
08-04-08       Room-Group            Routed From Franco Max Of Room #257                99.00
08-04-08       Occupancy Tax         Routed From Franco Max Of Room #257                10.89
08-04-08       Room-Group            Routed From Weinsten Ryan Of Room #260             99.00
08-04-08       Occupancy Tax         Routed From Weinsten Ryan Of Room #260             10.89
08-04-08       Room-Group            Routed From Aguiar Lauren Of Room #286            189.00
08-04-08       Occupancy Tax         Routed From Aguiar Lauren Of Room #286             20.79
08-04-08       Room-Group            Routed From Shorr Aaron Of Room #303               99.00
08-04-08       Occupancy Tax         Routed From Shorr Aaron Of Room #303               10.89
08-04-08       Room-Group            Routed From Lybrand Steve Of Room #314             99.00
08-04-08       Occupancy Tax         Routed From Lybrand Steve Of Room #314             10.89
08-04-08       Room-Group            Routed From Rogosa Diana Of Room #316              99.00
08-04-08       Occupancy Tax         Routed From Rogosa Diana Of Room #316              10.89
08-04-08       Room-Group            Routed From Rinker Greg Of Room #317               99.00
08-04-08       Occupancy Tax         Routed From Rinker Greg Of Room #317               10.89
08-04-08       Room-Group            Routed From Herrington Rob Of Room #328            99.00
08-04-08       Occupancy Tax         Routed From Herrington Rob Of Room #328            10.89
08-04-08       Room-Group            Routed From Sloan Matt Of Room #343                99.00
08-04-08       Occupancy Tax         Routed From Sloan Matt Of Room #343                10.89
08-04-08       Room-Group            Routed From Harden Susan Of Room #345              99.00
08-04-08       Occupancy Tax         Routed From Harden Susan Of Room #345              10.89




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                                                                                     Arrival date:      05-14-08
MGA Entertainment                                                                    Departure date:    08-29-08
16300 Roscoe Boulevard                                                               No. in party:     0/0
Van Nuys, CA 91406                                                                   Room No.:          9001
                                                                                     Account No.:
                                                                                      BookingNo.:
                                                                                     Page No.:             8 of 17

                                                                                      Invoice .:
INFORMATION INVOICE                                                                                          08-08-08
Date        Description                  Reference                                         Charges           Credits

08-04-08       Room-Group                  Routed From Uslaner Jonathan Of Room               99.00
                                          #349
08-04-08       Occupancy Tax               Routed From Uslaner Jonathan Of Room               10.89
                                          #349
08-04-08       Room-Group                  Routed From Isomoto Becky Of Room #355             99.00
08-04-08       Occupancy Tax               Routed From Isomoto Becky Of Room #355             10.89
08-04-08       Room-Group                  Routed From Hansen David Of Room #377              99.00
08-04-08       Occupancy Tax               Routed From Hansen David Of Room #377              10.89
08-04-08       Room-Group                  Routed From Nolan Tom Of Room #435                500.00
08-04-08       Occupancy Tax               Routed From Nolan Tom Of Room #435                 55.00
08-05-08       Room Service               Line# 225 : CHECK# 0042991 Holden Craig             18.27
                                          #225=>MGA Entertainment #9001
08-05-08       Comm-Long Distance         10:16 00:03:00 lost Interface #9500=>MGA             1.44
                                          Entertainment #9001
08-05-08       Comm-Long Distance         10:16 00:02:00 lost Interface #9500=>MGA             1.21
                                          Entertainment #9001
08-05-08       Comm-Long Distance         10:16 00:04:00 lost Interface #9500=>MGA             1.67
                                          Entertainment #9001
08-05-08       Comm-Long Distance         10:16 00:01:00 lost Interface #9500=>MGA             0.98
                                          Entertainment #9001
08-05-08       Banquet Invoice            40208                                              842.82
08-05-08       Comm-Long Distance         10:16 00:02:00 lost Interface #9500=>MGA             1.21
                                          Entertainment #9001
08-05-08       Comm-Long Distance         10:16 00:01:00 lost Interface #9500=>MGA             0.98
                                          Entertainment #9001
08-05-08       Banquet Invoice            dinner40286                                        678.95
08-05-08       Parking-Valet Overnight    Mumford Marcus #150=>MGA Entertainment              15.00
                                           #9001
08-05-08       Parking-Valet Overnight    Lopez Alex #176=>MGA Entertainment                  15.00
                                          #9001
08-05-08       Parking-Valet Overnight    Holden Craig #225=>MGA Entertainment                15.00
                                          #9001
08-05-08       Room-Group                  Routed From Hammon Patrick Of Room #128            99.00




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                                                                               Arrival date:      05-14-08
MGA Entertainment                                                              Departure date:    08-29-08
16300 Roscoe Boulevard                                                         No. in party:     0/0
Van Nuys, CA 91406                                                             Room No.:          9001
                                                                               Account No.:
                                                                                BookingNo.:
                                                                               Page No.:             9 of 17

                                                                                Invoice .:
INFORMATION INVOICE                                                                                    08-08-08
Date        Description            Reference                                         Charges           Credits

08-05-08       Occupancy Tax         Routed From Hammon Patrick Of Room #128            10.89
08-05-08       Room-Group            Routed From Lanstra Allen Of Room #146             99.00
08-05-08       Occupancy Tax         Routed From Lanstra Allen Of Room #146             10.89
08-05-08       Room-Group            Routed From Mumford Marcus Of Room                 99.00
                                    #150
08-05-08       Occupancy Tax         Routed From Mumford Marcus Of Room                 10.89
                                    #150
08-05-08       Room-Group            Routed From Kennedy Raoul Of Room #158            189.00
08-05-08       Occupancy Tax         Routed From Kennedy Raoul Of Room #158             20.79
08-05-08       Room-Group            Routed From Lopez Alex Of Room #176                99.00
08-05-08       Occupancy Tax         Routed From Lopez Alex Of Room #176                10.89
08-05-08       Room-Group            Routed From Roth Carl Of Room #202                189.00
08-05-08       Occupancy Tax         Routed From Roth Carl Of Room #202                 20.79
08-05-08       Room-Group            Routed From Holden Craig Of Room #225             129.00
08-05-08       Occupancy Tax         Routed From Holden Craig Of Room #225              14.19
08-05-08       Room-Group            Routed From Turnipseed Alissa Of Room              99.00
                                    #230
08-05-08       Occupancy Tax         Routed From Turnipseed Alissa Of Room              10.89
                                    #230
08-05-08       Room-Group            Routed From Feirman Jordan Of Room #233            99.00
08-05-08       Occupancy Tax         Routed From Feirman Jordan Of Room #233            10.89
08-05-08       Room-Group            Routed From Franco Max Of Room #257                99.00
08-05-08       Occupancy Tax         Routed From Franco Max Of Room #257                10.89
08-05-08       Room-Group            Routed From Weinsten Ryan Of Room #260             99.00
08-05-08       Occupancy Tax         Routed From Weinsten Ryan Of Room #260             10.89
08-05-08       Room-Group            Routed From Aguiar Lauren Of Room #286            189.00
08-05-08       Occupancy Tax         Routed From Aguiar Lauren Of Room #286             20.79
08-05-08       Room-Group            Routed From Shorr Aaron Of Room #303               99.00
08-05-08       Occupancy Tax         Routed From Shorr Aaron Of Room #303               10.89
08-05-08       Room-Group            Routed From Lybrand Steve Of Room #314             99.00
08-05-08       Occupancy Tax         Routed From Lybrand Steve Of Room #314             10.89
08-05-08       Room-Group            Routed From Rogosa Diana Of Room #316              99.00




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                                                                                      Arrival date:      05-14-08
MGA Entertainment                                                                     Departure date:    08-29-08
16300 Roscoe Boulevard                                                                No. in party:     0/0
Van Nuys, CA 91406                                                                    Room No.:          9001
                                                                                      Account No.:
                                                                                       BookingNo.:
                                                                                      Page No.:             10 of 17

                                                                                       Invoice .:
INFORMATION INVOICE                                                                                           08-08-08
Date        Description                 Reference                                           Charges           Credits

08-05-08       Occupancy Tax              Routed From Rogosa Diana Of Room #316                10.89
08-05-08       Room-Group                 Routed From Rinker Greg Of Room #317                 99.00
08-05-08       Occupancy Tax              Routed From Rinker Greg Of Room #317                 10.89
08-05-08       Room-Group                 Routed From Herrington Rob Of Room #328              99.00
08-05-08       Occupancy Tax              Routed From Herrington Rob Of Room #328              10.89
08-05-08       Room-Group                 Routed From Sloan Matt Of Room #343                  99.00
08-05-08       Occupancy Tax              Routed From Sloan Matt Of Room #343                  10.89
08-05-08       Room-Group                 Routed From Harden Susan Of Room #345                99.00
08-05-08       Occupancy Tax              Routed From Harden Susan Of Room #345                10.89
08-05-08       Room-Group                 Routed From Uslaner Jonathan Of Room                 99.00
                                         #349
08-05-08       Occupancy Tax              Routed From Uslaner Jonathan Of Room                 10.89
                                         #349
08-05-08       Room-Group                 Routed From Isomoto Becky Of Room #355               99.00
08-05-08       Occupancy Tax              Routed From Isomoto Becky Of Room #355               10.89
08-05-08       Room-Group                 Routed From Hansen David Of Room #377                99.00
08-05-08       Occupancy Tax              Routed From Hansen David Of Room #377                10.89
08-05-08       Room-Group                 Routed From Nolan Tom Of Room #435                  500.00
08-05-08       Occupancy Tax              Routed From Nolan Tom Of Room #435                   55.00
08-06-08       Comm-Long Distance        10:16 00:01:00 lost Interface #9500=>MGA               0.98
                                         Entertainment #9001
08-06-08       Banquet Invoice           40209                                                906.40
08-06-08       Comm-Long Distance        11:19 00:01:00 lost Interface #9500=>MGA               0.98
                                         Entertainment #9001
08-06-08       Comm-Long Distance        11:19 00:01:00 lost Interface #9500=>MGA               0.98
                                         Entertainment #9001
08-06-08       American Express          XXXXXXXXXXX6006                   XX/XX                           60,000.00
08-06-08       Parking-Self Overnight    Routed From Franco Max Of Room #257                    5.00
08-06-08       Comm-Long Distance        10:18 00:04:00 lost Interface #9500=>MGA               1.67
                                         Entertainment #9001
08-06-08       Comm-Local Calls          18:16 00:02:00 Routed From Holden Craig Of             0.75
                                         Room #225
08-06-08       Comm-Long Distance        10:18 00:03:00 lost Interface #9500=>MGA               1.44



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                                                                                      Arrival date:      05-14-08
MGA Entertainment                                                                     Departure date:    08-29-08
16300 Roscoe Boulevard                                                                No. in party:     0/0
Van Nuys, CA 91406                                                                    Room No.:          9001
                                                                                      Account No.:
                                                                                       BookingNo.:
                                                                                      Page No.:             11 of 17

                                                                                       Invoice .:
INFORMATION INVOICE                                                                                           08-08-08
Date        Description                  Reference                                          Charges           Credits

                                          Entertainment #9001
08-06-08       Comm-Long Distance         10:18 00:04:00 lost Interface #9500=>MGA              1.67
                                          Entertainment #9001
08-06-08       Comm-Long Distance         10:18 00:01:00 lost Interface #9500=>MGA              0.98
                                          Entertainment #9001
08-06-08       Banquet Invoice            dinner                                              688.49
08-06-08       Comm-Long Distance         10:18 00:09:00 lost Interface #9500=>MGA              9.53
                                          Entertainment #9001
08-06-08       Comm-Long Distance         10:18 00:02:00 lost Interface #9500=>MGA              1.21
                                          Entertainment #9001
08-06-08       Parking-Valet Overnight    Routed From Isomoto Becky Of Room #355               10.00
08-06-08       Parking-Valet Overnight    Routed From Harden Susan Of Room #345                10.00
08-06-08       Parking-Valet Overnight    Routed From Shorr Aaron Of Room #303                 10.00
08-06-08       Parking-Valet Overnight    Routed From Sloan Matt Of Room #343                  10.00
08-06-08       Parking-Valet Overnight    Routed From Lanstra Allen Of Room #146               10.00
08-06-08       Parking-Valet Overnight    Routed From Weinsten Ryan Of Room #260               10.00
08-06-08       Parking-Valet Overnight    Routed From Roth Carl Of Room #202                   10.00
08-06-08       Parking-Valet Overnight    Routed From Lopez Alex Of Room #176                  10.00
08-06-08       Parking-Valet Overnight    Routed From McFarland Larry Of Room #108             10.00
08-06-08       Parking-Valet Overnight    Routed From Mumford Marcus Of Room                   10.00
                                          #150
08-06-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room #349            10.00
08-06-08       Room-Group                  Routed From McFarland Larry Of Room                 99.00
                                          #108
08-06-08       Occupancy Tax               Routed From McFarland Larry Of Room                 10.89
                                          #108
08-06-08       Room-Group                  Routed From Hammon Patrick Of Room #128             99.00
08-06-08       Occupancy Tax               Routed From Hammon Patrick Of Room #128             10.89
08-06-08       Room-Group                  Routed From Leahy Margaret Of Room #143             99.00
08-06-08       Occupancy Tax               Routed From Leahy Margaret Of Room #143             10.89
08-06-08       Room-Group                  Routed From Lanstra Allen Of Room #146              99.00
08-06-08       Occupancy Tax               Routed From Lanstra Allen Of Room #146              10.89
08-06-08       Room-Group                  Routed From Mumford Marcus Of Room                  99.00



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                                                                                    Arrival date:      05-14-08
MGA Entertainment                                                                   Departure date:    08-29-08
16300 Roscoe Boulevard                                                              No. in party:     0/0
Van Nuys, CA 91406                                                                  Room No.:          9001
                                                                                    Account No.:
                                                                                     BookingNo.:
                                                                                    Page No.:             12 of 17

                                                                                     Invoice .:
INFORMATION INVOICE                                                                                         08-08-08
Date        Description                 Reference                                         Charges           Credits

                                         #150
08-06-08       Occupancy Tax              Routed From Mumford Marcus Of Room                 10.89
                                         #150
08-06-08       Room-Group                 Routed From Kennedy Raoul Of Room #158            189.00
08-06-08       Occupancy Tax              Routed From Kennedy Raoul Of Room #158             20.79
08-06-08       Room-Group                 Routed From Garcia Paula Of Room #160              99.00
08-06-08       Occupancy Tax              Routed From Garcia Paula Of Room #160              10.89
08-06-08       Room-Group                 Routed From Lopez Alex Of Room #176                99.00
08-06-08       Occupancy Tax              Routed From Lopez Alex Of Room #176                10.89
08-06-08       Room-Group                 Routed From Jain Deepak Of Room #178               99.00
08-06-08       Occupancy Tax              Routed From Jain Deepak Of Room #178               10.89
08-06-08       Room-Group                 Routed From Roth Carl Of Room #202                189.00
08-06-08       Occupancy Tax              Routed From Roth Carl Of Room #202                 20.79
08-06-08       Room-Group                 Routed From Holden Craig Of Room #225             129.00
08-06-08       Occupancy Tax              Routed From Holden Craig Of Room #225              14.19
08-06-08       Room-Group                 Routed From Turnipseed Alissa Of Room              99.00
                                         #230
08-06-08       Occupancy Tax              Routed From Turnipseed Alissa Of Room              10.89
                                         #230
08-06-08       Room-Group                 Routed From Feirman Jordan Of Room #233            99.00
08-06-08       Occupancy Tax              Routed From Feirman Jordan Of Room #233            10.89
08-06-08       Room-Group                 Routed From Franco Max Of Room #257                99.00
08-06-08       Occupancy Tax              Routed From Franco Max Of Room #257                10.89
08-06-08       Parking-Self Overnight     Routed From Franco Max Of Room #257                 5.00
08-06-08       Room-Group                 Routed From Weinsten Ryan Of Room #260             99.00
08-06-08       Occupancy Tax              Routed From Weinsten Ryan Of Room #260             10.89
08-06-08       Room-Group                 Routed From Aguiar Lauren Of Room #286            189.00
08-06-08       Occupancy Tax              Routed From Aguiar Lauren Of Room #286             20.79
08-06-08       Room-Group                 Routed From Shorr Aaron Of Room #303               99.00
08-06-08       Occupancy Tax              Routed From Shorr Aaron Of Room #303               10.89
08-06-08       Room-Group                 Routed From Lybrand Steve Of Room #314             99.00
08-06-08       Occupancy Tax              Routed From Lybrand Steve Of Room #314             10.89




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                                                                                Arrival date:      05-14-08
MGA Entertainment                                                               Departure date:    08-29-08
16300 Roscoe Boulevard                                                          No. in party:     0/0
Van Nuys, CA 91406                                                              Room No.:          9001
                                                                                Account No.:
                                                                                 BookingNo.:
                                                                                Page No.:             13 of 17

                                                                                 Invoice .:
INFORMATION INVOICE                                                                                     08-08-08
Date        Description             Reference                                         Charges           Credits

08-06-08       Room-Group             Routed From Rogosa Diana Of Room #316              99.00
08-06-08       Occupancy Tax          Routed From Rogosa Diana Of Room #316              10.89
08-06-08       Room-Group             Routed From Rinker Greg Of Room #317               99.00
08-06-08       Occupancy Tax          Routed From Rinker Greg Of Room #317               10.89
08-06-08       Room-Group             Routed From Herrington Rob Of Room #328            99.00
08-06-08       Occupancy Tax          Routed From Herrington Rob Of Room #328            10.89
08-06-08       Room-Group             Routed From Sloan Matt Of Room #343                99.00
08-06-08       Occupancy Tax          Routed From Sloan Matt Of Room #343                10.89
08-06-08       Room-Group             Routed From Harden Susan Of Room #345              99.00
08-06-08       Occupancy Tax          Routed From Harden Susan Of Room #345              10.89
08-06-08       Room-Group             Routed From Uslaner Jonathan Of Room               99.00
                                     #349
08-06-08       Occupancy Tax          Routed From Uslaner Jonathan Of Room               10.89
                                     #349
08-06-08       Room-Group             Routed From Isomoto Becky Of Room #355             99.00
08-06-08       Occupancy Tax          Routed From Isomoto Becky Of Room #355             10.89
08-06-08       Room-Group             Routed From Hansen David Of Room #377              99.00
08-06-08       Occupancy Tax          Routed From Hansen David Of Room #377              10.89
08-06-08       Room-Group             Routed From Nolan Tom Of Room #435                500.00
08-06-08       Occupancy Tax          Routed From Nolan Tom Of Room #435                 55.00
08-07-08       Comm-Long Distance    10:18 00:07:00 lost Interface #9500=>MGA             2.36
                                     Entertainment #9001
08-07-08       Comm-Long Distance    14:51 00:03:00 lost Interface #9500=>MGA             1.44
                                     Entertainment #9001
08-07-08       Banquet Invoice       40289                                              842.82
08-07-08       Comm-Long Distance    11:25 00:01:00 lost Interface #9500=>MGA             0.98
                                     Entertainment #9001
08-07-08       Comm-Long Distance    11:25 00:02:00 lost Interface #9500=>MGA             1.21
                                     Entertainment #9001
08-07-08       Comm-Long Distance    11:25 00:01:00 lost Interface #9500=>MGA             0.98
                                     Entertainment #9001
08-07-08       Comm-Long Distance    11:25 00:01:00 lost Interface #9500=>MGA             0.98
                                     Entertainment #9001



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                                                                                      Arrival date:      05-14-08
MGA Entertainment                                                                     Departure date:    08-29-08
16300 Roscoe Boulevard                                                                No. in party:     0/0
Van Nuys, CA 91406                                                                    Room No.:          9001
                                                                                      Account No.:
                                                                                       BookingNo.:
                                                                                      Page No.:             14 of 17

                                                                                       Invoice .:
INFORMATION INVOICE                                                                                           08-08-08
Date        Description                  Reference                                          Charges           Credits

08-07-08       Comm-Long Distance         11:25 00:01:00 lost Interface #9500=>MGA              0.98
                                          Entertainment #9001
08-07-08       Comm-Long Distance         11:25 00:01:00 lost Interface #9500=>MGA              0.98
                                          Entertainment #9001
08-07-08       Banquet Invoice            40288                                               674.19
08-07-08       Parking-Valet Overnight    Routed From Holden Craig Of Room #225                10.00
08-07-08       Parking-Valet Overnight    Mumford Marcus #150=>MGA Entertainment               10.00
                                           #9001
08-07-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room #349            10.00
08-07-08       Parking-Valet Overnight    Routed From Isomoto Becky Of Room #355               10.00
08-07-08       Parking-Valet Overnight    Routed From Harden Susan Of Room #345                10.00
08-07-08       Parking-Valet Overnight    Routed From Shorr Aaron Of Room #303                 10.00
08-07-08       Parking-Valet Overnight    Routed From Nolan Tom Of Room #435                   10.00
08-07-08       Parking-Valet Overnight    Routed From Sloan Matt Of Room #343                  10.00
08-07-08       Parking-Valet Overnight    Routed From Weinsten Ryan Of Room #260               10.00
08-07-08       Parking-Valet Overnight    Routed From Roth Carl Of Room #202                   10.00
08-07-08       Parking-Valet Overnight    Routed From Lopez Alex Of Room #176                  10.00
08-07-08       Parking-Valet Overnight    Routed From McFarland Larry Of Room #108             10.00
08-07-08       Parking-Valet Overnight    Routed From Mumford Marcus Of Room                   10.00
                                          #150
08-07-08       Parking-Valet Overnight    Routed From Garcia Paula Of Room #160                10.00
08-07-08       Room-Group                  Routed From McFarland Larry Of Room                 99.00
                                          #108
08-07-08       Occupancy Tax               Routed From McFarland Larry Of Room                 10.89
                                          #108
08-07-08       Room-Group                  Routed From Hammon Patrick Of Room #128             99.00
08-07-08       Occupancy Tax               Routed From Hammon Patrick Of Room #128             10.89
08-07-08       Room-Group                  Routed From Leahy Margaret Of Room #143             99.00
08-07-08       Occupancy Tax               Routed From Leahy Margaret Of Room #143             10.89
08-07-08       Room-Group                  Routed From Lanstra Allen Of Room #146              99.00
08-07-08       Occupancy Tax               Routed From Lanstra Allen Of Room #146              10.89
08-07-08       Room-Group                  Routed From Mumford Marcus Of Room                  99.00
                                          #150



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                                                                                    Arrival date:      05-14-08
MGA Entertainment                                                                   Departure date:    08-29-08
16300 Roscoe Boulevard                                                              No. in party:     0/0
Van Nuys, CA 91406                                                                  Room No.:          9001
                                                                                    Account No.:
                                                                                     BookingNo.:
                                                                                    Page No.:             15 of 17

                                                                                     Invoice .:
INFORMATION INVOICE                                                                                         08-08-08
Date        Description                 Reference                                         Charges           Credits

08-07-08       Occupancy Tax              Routed From Mumford Marcus Of Room                 10.89
                                         #150
08-07-08       Room-Group                 Routed From Kennedy Raoul Of Room #158            189.00
08-07-08       Occupancy Tax              Routed From Kennedy Raoul Of Room #158             20.79
08-07-08       Room-Group                 Routed From Garcia Paula Of Room #160              99.00
08-07-08       Occupancy Tax              Routed From Garcia Paula Of Room #160              10.89
08-07-08       Room-Group                 Routed From Lopez Alex Of Room #176                99.00
08-07-08       Occupancy Tax              Routed From Lopez Alex Of Room #176                10.89
08-07-08       Room-Group                 Routed From Roth Carl Of Room #202                189.00
08-07-08       Occupancy Tax              Routed From Roth Carl Of Room #202                 20.79
08-07-08       Room-Group                 Routed From Holden Craig Of Room #225             129.00
08-07-08       Occupancy Tax              Routed From Holden Craig Of Room #225              14.19
08-07-08       Room-Group                 Routed From Turnipseed Alissa Of Room              99.00
                                         #230
08-07-08       Occupancy Tax              Routed From Turnipseed Alissa Of Room              10.89
                                         #230
08-07-08       Room-Group                 Routed From Feirman Jordan Of Room #233            99.00
08-07-08       Occupancy Tax              Routed From Feirman Jordan Of Room #233            10.89
08-07-08       Room-Group                 Routed From Franco Max Of Room #257                99.00
08-07-08       Occupancy Tax              Routed From Franco Max Of Room #257                10.89
08-07-08       Parking-Self Overnight     Routed From Franco Max Of Room #257                 5.00
08-07-08       Room-Group                 Routed From Weinsten Ryan Of Room #260             99.00
08-07-08       Occupancy Tax              Routed From Weinsten Ryan Of Room #260             10.89
08-07-08       Room-Group                 Routed From Aguiar Lauren Of Room #286            189.00
08-07-08       Occupancy Tax              Routed From Aguiar Lauren Of Room #286             20.79
08-07-08       Room-Group                 Routed From Shorr Aaron Of Room #303               99.00
08-07-08       Occupancy Tax              Routed From Shorr Aaron Of Room #303               10.89
08-07-08       Room-Group                 Routed From Lybrand Steve Of Room #314             99.00
08-07-08       Occupancy Tax              Routed From Lybrand Steve Of Room #314             10.89
08-07-08       Room-Group                 Routed From Rogosa Diana Of Room #316              99.00
08-07-08       Occupancy Tax              Routed From Rogosa Diana Of Room #316              10.89
08-07-08       Room-Group                 Routed From Rinker Greg Of Room #317               99.00




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                                                                                Arrival date:      05-14-08
MGA Entertainment                                                               Departure date:    08-29-08
16300 Roscoe Boulevard                                                          No. in party:     0/0
Van Nuys, CA 91406                                                              Room No.:          9001
                                                                                Account No.:
                                                                                 BookingNo.:
                                                                                Page No.:             16 of 17

                                                                                 Invoice .:
INFORMATION INVOICE                                                                                     08-08-08
Date        Description             Reference                                         Charges           Credits

08-07-08       Occupancy Tax          Routed From Rinker Greg Of Room #317               10.89
08-07-08       Room-Group             Routed From Herrington Rob Of Room #328            99.00
08-07-08       Occupancy Tax          Routed From Herrington Rob Of Room #328            10.89
08-07-08       Room-Group             Routed From Sloan Matt Of Room #343                99.00
08-07-08       Occupancy Tax          Routed From Sloan Matt Of Room #343                10.89
08-07-08       Room-Group             Routed From Harden Susan Of Room #345              99.00
08-07-08       Occupancy Tax          Routed From Harden Susan Of Room #345              10.89
08-07-08       Room-Group             Routed From Uslaner Jonathan Of Room               99.00
                                     #349
08-07-08       Occupancy Tax          Routed From Uslaner Jonathan Of Room               10.89
                                     #349
08-07-08       Room-Group             Routed From Isomoto Becky Of Room #355             99.00
08-07-08       Occupancy Tax          Routed From Isomoto Becky Of Room #355             10.89
08-07-08       Room-Group             Routed From Hansen David Of Room #377              99.00
08-07-08       Occupancy Tax          Routed From Hansen David Of Room #377              10.89
08-07-08       Room-Group             Routed From Nolan Tom Of Room #435                500.00
08-07-08       Occupancy Tax          Routed From Nolan Tom Of Room #435                 55.00
08-08-08       Comm-Long Distance    11:25 00:04:00 lost Interface #9500=>MGA             5.35
                                     Entertainment #9001
08-08-08       Comm-Long Distance    11:25 00:01:00 lost Interface #9500=>MGA             0.98
                                     Entertainment #9001
08-08-08       Comm-Long Distance    11:25 00:04:00 lost Interface #9500=>MGA             1.67
                                     Entertainment #9001
08-08-08       Comm-Long Distance    11:25 00:02:00 lost Interface #9500=>MGA             1.21
                                     Entertainment #9001
08-08-08       Comm-Long Distance    11:25 00:01:00 lost Interface #9500=>MGA             0.98
                                     Entertainment #9001
08-08-08       Comm-Long Distance    11:25 00:01:00 lost Interface #9500=>MGA             0.98
                                     Entertainment #9001




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                                          #:325296




                                                                                       Arrival date:      05-14-08
MGA Entertainment                                                                      Departure date:    08-29-08
16300 Roscoe Boulevard                                                                 No. in party:     0/0
Van Nuys, CA 91406                                                                     Room No.:          9001
                                                                                       Account No.:
                                                                                        BookingNo.:
                                                                                       Page No.:             17 of 17

                                                                                        Invoice .:
INFORMATION INVOICE                                                                                            08-08-08
Date             Description                                     Reference                   Charges           Credits

                                                                             Total         30,314.42        60,000.00

                                                                             Balance       -29,685.58
   Cashier: 35


  I agree to be held personally liable in the event that
  the indicated person, company or association fails to pay all or
  part of these charges.

  Signature ______________________________________________________




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